
PER CURIAM.
Scott Solovic appeals from the motion court's judgment denying, without an evidentiary hearing, his Motion requesting post-conviction relief under Rule 29.15.1 We have reviewed the briefs of the parties and the record on appeal, and we conclude the motion court's denial of post-conviction relief was not clearly erroneous. Rule *70129.15(k). An extended opinion would have no precedential value. We have, however, provided a memorandum setting forth the reasons for our decision to the parties, for their use only. We affirm the judgment pursuant to Missouri Rule of Civil Procedure 84.16(b) (2017).

All references are to Mo. R. Crim. P. 2016, unless otherwise indicated.

